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1 United States District Court
AO 91 (Rev. 08/09) Criminal Complaint S°uthern District of Texas
UNITED STATE§BISTRI&T CoURT JAN 0 2 mg

Southern District of Texas, Brownsville _
David J. Bradley, lerk of Courl:

 

United States of America )
Hilario VALDEZ-MART|NEZ ) Case No. /
) ,
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of December 31, 2018 in the county of Cameron in the
Southem District of Texas , the defendant(s) violated:
Coa’e Sectl'on Ojj"ense Descriptian
18 USC 922 (n) lt shall be unlawful for any person who is under felony indictment for a crime

punishable by impirisonment for a term exceeding one year, to receive any firearm
which has been shipped or transported in interstate commerce.

This criminal complaint is based on these facts:

See Attachment A for more details.

El Continued on the attached sheet.

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Complainant 's signature

Amanda Schweiner, Special Aqent ATF
Printed name and title

Sworn to before me and signed in my presence v

Date: ,2'&5% 21 301 ri

City and state: Brownsvi|le, Texas ignacio Torteya l||, nited States Magistrate Judge
Prthed name and title

    

 

 

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JAN 02 2019

David J. Bradley, Clerk of Court

AO 91 (Rev 2/09) Criminal Complaint /

ATTACHMENT A Q,H/lol/m a

 

 

 

On December 2l, 2018, ATF Brownsville Field Office (BFO) agents received information that an individual,
later identified as Hilario VALDEZ-MARTFNEZ, was attempting to acquire a .308 caliber rifie. Your affiant
reviewed court documents which revealed VALDEZ-MARTINEZ has been under felony indictment, in the
103rd Judicial District Court of Cameron County, since October 2018, for possession with intent to deliver a

controlled substance.

Following the identification of VALDEZ-MARTINEZ and his prohibited status, an ATF undercover (UC)
agent began communicating with VALDEZ-MARTINEZ by telephone VALDEZ-MARTINEZ asked the UC
agent to purchase a firearm on his behalf, specifically a .308 caliber rifle VALDEZ-MARTINEZ explained to

the UC agent that he would provide him the cash needed to purchase this firearm.
On December 31, 2018, the UC agent informed VALDEZ-MARTINEZ that a Federal Firearm Licensee (FFL)

located in Harlingen, Texas a DPMS, Panther Arms .308 caliber rifle in stock for $910. On this date,
VALDEZ-MARTINEZ and the UC agent at the FFL, where VALDEZ-MARTINEZ provided the UC agent

$910 to purchase the firearm, and gave the UC agent an extra $100 as payment.

After the UC agent purchased the DPMS rifle, they met with VALDEZ-MARTINEZ in the FFL parking lot.
VALDEZ-MARTINEZ took this firearm into his possession, and placed it into his vehicle, where it was later
recovered by agents.

Soon after VALDEZ-MARTINEZ placed the firearm in his vehicle, he was arrested by ATF agents and
transported to the BFO field office for an interview. VALDEZ-MARTINEZ was read his Miranda rights,

which he Waived and agreed to speak to agents. VALDEZ-MARTINEZ informed your affiant that he was
aware he was under felony indictment and therefore unable to purchase or receive firearms.

VALDEZ-MARTINEZ also admitted to asking the ATF UC to purchase a firearm on his behalf.

Your affiant has been advised that the DPMS rifle, which VALDEZ-MARTINEZ took into his possession, was
not manufactured in the state of Texas.

Amanda Schweiner, Special Agent ATF

 

Sworn to before d subscribed in my presence,

     

 

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U itelj States Magistrate Judge Date

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